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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GLENVERT GREEN,                              :
                                             :
              Plaintiff                      :    CIVIL ACTION NO. 3:16-CV-2046
                                             :
     v.                                      :     (Judge Caputo)
                                             :
USP CANNAN, et al.,                          :
                                             :
              Defendants                     :




                                 MEMORANDUM

I.        Background

          Plaintiff, Glenvert Green an inmate formerly housed at the Canaan United

State Penitentiary (USP-Canaan), in Waymart, Pennsylvania,1 filed this Bivens2

action, 28 U.S.C. § 1331, action on October 1, 2016. (ECF No. 1.) He claims


          1
        Mr. Green is presently incarcerated at USP-Lewisburg, in Lewisburg, Pennsylvania.
See Federal Bureau of Prisons Inmate Locator, https://www.bop.gov/inmateloc/ (last visited
March 20, 2018).
          2
         Bivens v. Six Unknown Named Agents of the Fed. Bureau of Narcotics, 403 U.S.
388, 91 S.Ct. 1999, 29 L.Ed.2d 619 (1971). Bivens stands for the proposition that “a citizen
suffering a compensable injury to a constitutionally protected interest could invoke the
general federal-question jurisdiction of the district courts to obtain an award of monetary
damages against the responsible federal official.” Butz v. Economou, 438 U.S. 478, 504, 98
S.Ct. 2893, 2909 – 10, 57 L.Ed.2d 895 (1978).
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Defendants were deliberately indifferent to his ongoing medical needs following the

rupture of his right Achilles tendon. This matter proceeds on an amended complaint.

(ECF No. 20.) Named as Defendants are the following USP-Canaan employees:

Mid-Level Practitioner Rhea Carey; Mid-Level Practitioner Kenneth Kaiser; Nurse

Michelle Szymanski; Emergency Medical Technician (EMT) Blake Glucksnis; and

Health Services Administrator Shawn Taylor.3 (Id.)

         Presently pending before the Court is the Defendants’ motion to dismiss

pursuant to Federal Rule of Civil Procedure 12(b) or, in the alternative, for summary

judgment pursuant to Federal Rule of Civil Procedure 56 based on Plaintiff’s failure

to exhaust his available administrative remedies. (ECF No. 30.) For the reasons set

forth below, the Court will grant Defendants’ motion for summary judgment.



II.      Motion for Summary Judgment Standard of Review

         Summary judgment is proper where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.”   Fed. R. Civ. P. 56(a).   The court must determine “whether the

pleadings, depositions, answers to interrogatories, admissions on file, and affidavits

show that there is no genuine issue of material fact and whether the moving party is

therefore entitled to judgment as a matter of law.” MacFarlan v. Ivy Hill SNF, LLC,

675 F.3d 266, 271 (3d Cir. 2012) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322,

         3
        The Court will use the spelling of Defendants’ surnames as provided by
Defendants. See ECF No. 29, Defendants’ Waiver of the Service of Summons.

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106 S.Ct. 2548, 2552, 91 L.Ed.2d 265 (1986)). “[T]his standard provides that the

mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; the requirement is

that there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 247 - 48, 106 S.Ct. 2505, 2509 - 10, 91 L.Ed.2d 202 (1986).

      “A genuine issue is present when a reasonable trier of fact, viewing all of the

record evidence, could rationally find in favor of the non-moving party in light of his

burden of proof.” Doe v. Abington Friends Sch., 480 F.3d 252, 256 (3d Cir. 2007)

(internal citations omitted). Material facts are those which “might affect the outcome

of the suit under the governing substantive law.” Scheidemantle v. Slippery Rock

Univ. State Sys. of Higher Educ., 470 F.3d 535, 538 (3d Cir. 2006).             Where

contradictory facts exist, the court may not make credibility determinations or weigh

the evidence. See Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 -

51, 120 S.Ct. 2097, 2110, 147 L.Ed.2d 105 (2000) (internal quotation marks and

citations omitted); Paradisis v. Englewood Hosp. Med. Ctr., 680 F. App’x 131, 135

(3d Cir. 2017). In reviewing a motion for summary judgment, the court must view all

facts and draw all reasonable inferences “in the light most favorable to the party

opposing the motion.” Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 265 (3d Cir.

2014) (internal quotation marks omitted).

      To prevail on summary judgment, the moving party must affirmatively identify

those portions of the record that demonstrate the absence of a genuine issue of



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material fact. Santini v. Fuentes, 795 F.3d 410 (3d Cir. 2015) (citing Celotex, 477

U.S. at 323, 106 S.Ct. 2553). “A party asserting that a fact cannot be or is genuinely

disputed must support the assertion by citing to particular parts of materials in the

record ... or showing that the materials cited do not establish the absence or

presence of a genuine dispute, or that an adverse party cannot produce admissible

evidence to support the fact.”    Fed. R. Civ. P. 56(c)(1)(A) - (B).    To withstand

summary judgment, the non-moving party must “go beyond the pleadings” and

“designate ‘specific facts showing that there is a genuine issue for trial.’” Celotex,

477 U.S. at 324, 106 S. Ct. at 2553 (citation omitted). The non-moving party cannot

rest on speculation and conjecture when opposing a motion for summary judgment.

In re Wellbutrin SL Antitrust Litigation Indirect Purchaser Class, 868 F.3d 132, 167

(3d Cir. 2017). As such, the non-moving party cannot satisfy the summary judgment

burden with an affidavit or declaration that sets forth opinions or conclusions rather

than supported facts. Gonzalez v. Sec’y. of Dept. of Homeland Sec., 678 F.3d 254,

263 (3d Cir. 2012). Unsubstantiated arguments made in briefs are not evidence

considered by the court. Versarge v. Township of Clinton, 984 F.2d 1359, 1370 (3d

Cir. 1993).

       In deciding the merits of a party's motion for summary judgment, the court's

role is not to evaluate the evidence and decide the truth of the matter, but to

determine whether there is a genuine issue for trial. Anderson, 477 U.S. at 249, 106




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S.Ct. at 2511. Credibility determinations are the province of the factfinder. Big

Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358, 1363 (3d Cir. 1992).



III.      Relevant Allegations of the Amended Complaint

          In the early evening of July 16, 2016, Mr. Green was playing basketball at

USP-Canaan when he injured his right ankle. (ECF No. 20.) Initially EMT Glucksnis

and Mr. Kaiser thought Mr. Green suffered from a high ankle sprain. Ten days later

Mr. Kaiser “discovered” that Mr. Green suffered from a torn Achilles tendon. Prison

officials scheduled Mr. Green for reparative surgery.

          On July 30, 2016, Dr. Jeffery Morgaman repaired the ruptured at an outside

hospital. Mr. Green received twenty or thirty staples in his ankle, which the surgeon

cast. The following day Mr. Green returned to USP-Canaan. Prison medical staff

did not provide Plaintiff the same narcotic painkillers he received in the hospital.

Medical staff provided Plaintiff Ibuprofen. At some point Mr. Kaiser allegedly told

Plaintiff not to take the Ibuprofen as it would damage his stomach, yet this was the

only pain medication he was given.

          Medical staff did not see Mr. Green August 2 – 8, 2016 because the institution

was on lockdown status.        Mr. Green then visited the medical unit daily seeking

medical care. On August 17, 2016, Health Services Administrator Taylor threatened

Plaintiff with a misconduct if he continued to harass the medical staff. Two days

later, while in the medical unit, Mr. Green received a misconduct for allegedly



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masturbating in front of a female staff member.            He was then placed in the

institution’s Special Housing Unit (SHU).

          While in the SHU, Mr. Green’s cast started to deteriorate and smell after it got

wet. Medical staff visiting the SHU ignored Plaintiff’s request for help with his cast.

Eventually EMT Glucksnis saw the tattered cast. Three days later a nurse

rewrapped Plaintiff’s cast.

          In September 2016, the surgeon removed Plaintiff’s cast and staples at the

Waymart Orthopedic Clinic. (Id.) As Plaintiff feared, several of his staples had

dislodged. The surgeon ordered wound care for Mr. Green upon his return to USP-

Canaan.       During a medical encounter with EMT Glucksnis determined that the

surgeon had left a staple in Plaintiff’s ankle. The next day medical staff removed the

staple.

          Mr. Green states he filed a BP-8 “about [his] injury and didn’t receive a

response after waiting nearly 14 days then out of the blue [Plaintiff] was transfered

(sic) on a writ for new criminal charges”. (Id., p. 6.) Mr. Green claims he was “not

only denied [his] administrative remedies by [his] unit team but due to the short

notice [given him] going on writ [his] remedies were unavailable.” (Id.)




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IV.      Statement of Undisputed Facts4

         The Federal Bureau of Prisons has established a four-step Administrative

Remedy Program for inmates to resolve concerns related to their confinement.

(ECF No. 34, Defs.’ Statement of Material Facts (DSMF), ¶ 1; see 28 C.F.R. §

542.10 et seq. (2005)). First, an inmate must seek to resolve the issue informally

with prison staff using a BP-8 form. (DSMF ¶ 2, citing 28 C.F.R. 542.13(a)). If the

informal complaint does not resolve the dispute, the prisoner may file a formal

administrative remedy request, BP-9, to the Warden of the institution of confinement.

(DSMF ¶ 3, citing 28 C.F.R. 542.13 – 14.) The inmate must submit the BP-9 form

within twenty calendar days following the date on which the basis of the grievance

occurred, except where the prisoner demonstrates a valid reason for delay.           (ECF

No. 34-1, Declaration of Attorney Advisor Michael Figgsganter (Figgsganter Decl.), ¶

7; see also 28 C.F.R. § 542.14(a)). If the Warden denies the BP-9 request, the

inmate may file an appeal with the Regional Director using a BP-10 form. (DSMF ¶

4; citing 28 C.F.R. § 542.15.)      An inmate must submit the BP-10 within twenty

calendar days of the date the Warden responded to the BP-9, with the exception

         4
         Local Rule 56.1 requires that a motion for summary judgment pursuant to Federal
Rule of Civil Procedure 56 be supported “by a separate, short, and concise statement of the
material facts, in numbered paragraphs, as to which the moving party contends there is no
genuine issue to be tried.” Pa. M.D. Local Rule 56.1. A party opposing a motion for
summary judgment must file a separate statement of material facts, responding to the
numbered paragraphs set forth in the moving party’s statement and identifying genuine
issue of trial. See Id. Unless otherwise noted, the factual background herein derives from
the Defendants’ Rule 56.1 statement of material facts. (ECF No. 34.) Mr. Green filed two
briefs in opposition to Defendants’ motion; however, he did not file a response to
Defendants’ statement of material facts. (ECF Nos. 35 and 38.) Accordingly, the Court
deems the facts set forth by Defendants to be undisputed. See Pa. M.D. Local Rule 56.1.

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again where there are valid reasons for delay. (Figgsganter Decl. ¶ 7, citing 28

C.F.R. 542.15(a).)   As a last step, where the prisoner is not satisfied with the

Regional Director’s response, he or she may submit an appeal to the BOP Office of

General Counsel, located in the Center Office, using a BP-11 form. (DSMF ¶ 5.)

The inmate must submit the BP-11 within thirty calendar days of the date the

Regional Director’s response to the BP-10, with the same exception for valid

reasons for delay. (Figgsganter Decl. ¶ 7, citing 28 C.F.R. 542.15(a).) An inmate

administrative appeal is not considered fully exhausted until reviewed by the BOP’s

Central Office on the merits. (DSMF ¶ 7, citing 28 C.F.R. 542.15.) If the BOP

rejects a remedy or appeal, it is returned to the inmate and the inmate is provided

with a written notice explaining the reason for the rejection. The BOP does not

retain copies of rejected filings. (DSMF ¶ 6; Figgsganter Decl. ¶ 7.)

      The Administrative Remedy Program instructs that the absence of a response

within the time allotted for reply, including any extensions, may be considered a

denial of the inmate’s request at that level. See 28 C.F.R. § 542.18.

      When an inmate demonstrates a valid reason for his delay in submitting an

administrative request or appeal, the BOP can extend the time limits for his

submission. See 28 C.F.R. 542.15(a). Valid reasons for a delay in submitting a

request or appeal may include an extended period in-transit during which the inmate

was separated from documents necessary to prepare his request or appeal or when




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an inmate is physically incapable of preparing a request or appeal. See 28 C.F.R. §

542.14.

        On March 29, 2017, Attorney Advisor Figgsganter conducted a search of Mr.

Green’s Administrative Remedy records to determine whether he had filed an

administrative remedy concerning the medical issues set forth in his complaint.

(DSMF ¶ 8; Figgsganter Decl. at ¶ 8.) At that time, Mr. Green had only filed one

administrative remedy, on March 24, 2017, concerning a Disciplinary Hearing Officer

appeal.   (DSMF ¶¶     8 – 9; ECF No. 34-1, Administrative Remedy Generalized

Retrieval for Glenvert Green, p. 14.)



V.      Discussion

        The Prison Litigation Reform Act (PLRA) requires prisoners to exhaust their

administrative remedies before filing suit in court. 42 U.S.C. § 1997e(a). The PLRA

“mandates that an inmate exhaust … administrative remedies … before bringing suit

to challenge prison conditions.” Ross v. Blake, _____U.S. _____, _____, 136 S.Ct.

1850, 1854 - 555, 195 L.Ed.2d 117 (2016) (quotation omitted); see also Booth v.

Churner, 532 U.S. 731, 121 S.Ct. 1819, 149 L.Ed.2d 958 (2001) (same).

        The “exhaustion requirement applies to all inmate suits about prison life,

whether they involve general circumstances or particular episodes, and whether they

allege excessive force or some other wrong.” Porter v. Nussle, 534 U.S. 516, 532,

122 S.Ct. 983, 992, 152 L.Ed.2d 12 (2002). The exhaustion requirement applies



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equally to inmate civil-rights claims brought under 42 U.S.C. § 1983 or Bivens. Id. at

524, 122 S.Ct. at 988.

       A prisoner need only exhaust “available” remedies. 42 U.S.C. § 1997e(a);

Ross, ____ U.S. at ____, 136 S.Ct. at 1855. An administrative remedy is “‘available’

[if it] is ‘capable of use for the accomplishment of a purpose’”. Id. at ____, 136 S.Ct.

at 1858 – 59 (quoting Booth, 532 U.S. at 737, 121 S.Ct. at 1823). The Supreme

Court in Ross outlined three circumstances when an administrative remedy is

unavailable and the prisoner’s duty to exhaust available remedies “does not come

into play.” Id. at ____, 136 S.Ct. at 1859.

               (1) ‘it operates as a simple dead end—with officers
              unable or consistently unwilling to provide any relief to
              aggrieved inmates’; (2) it is ‘so opaque that i[t] becomes,
              practically speaking, incapable of use,’ such as when no
              ordinary prisoner can discern or navigate it; or (3) ‘prison
              administrators thwart inmates from taking advantage of a
              grievance        process         through      machination,
              misrepresentation, or intimidation.’


Shumanis v. Lehigh Cty., 675 F. App’x 145, 148 (3d Cir. 2017) (quoting Ross, _____

U.S. at _____, 136 S.Ct. at 1859 – 60).

       The PLRA also mandates “proper exhaustion” of all the agency’s deadlines

and other procedural rules pertaining to its administrative remedy process.

Woodford v. Ngo, 548 U.S. 81, 93, 126 S.Ct. 2378, 2387, 165 L.Ed.2d 368 (2006).

“‘[P]rison grievance procedures supply the yardstick’ for determining what steps are

required for exhaustion.”    Williams v. Beard, 482 F.3d 637, 639 (3d Cir. 2007)



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(quoting Spruill v. Gillis, 372 F.3d 218, 230 (3d Cir. 2004)). “[T]o properly exhaust

administrative remedies, prisoners must ‘complete the administrative review process

in accordance with the applicable procedural rules’” as they are “defined … by the

prison grievance process itself.” Jones v. Bock, 549 U.S. 199, 218, 127 S.Ct. 910,

922 - 23, 166 L.Ed.2d 798 (2007) (quoting Ngo, 548 U.S. 88, 126 S.Ct. at 2384).

“[I]t is the prison’s [administrative remedy] requirements, and not the PLRA, that

define the boundaries of proper exhaustion.” Id. at 218, 127 S.Ct. at 923. Failure to

comply substantially with the procedural requirements of the applicable prison's

grievance system will result in a procedural default of the claim. Spruill, 372 F.3d at

227 – 32; see also Williams, 482 F.3d at 639 (inmate “procedurally defaulted” when

he failed to comply with the requirements of the prison’s grievance procedures).

      Finally, “exhaustion is a question of law to be determined by a judge, even if

that determination requires the resolution of disputed facts.” Small v. Camden Cty.,

728 F.3d 265, 269 (3d Cir. 2013).

      In the present matter, the Defendants seek summary judgment due to Mr.

Green’s failure to exhaust his administrative remedies prior to filing this action.

Defendants have produced evidence that the sole administrative remedy filed by Mr.

Green in March 2017 does not concern the medical issues presented in his

Amended Complaint. (ECF No. 33, Br. in Supp. Mot. Summ. J.) In his opposition

brief Mr. Green asserts that his administrative remedies were unavailable to him for

two reasons: (1) the SHU unit management team played “hide and seek” with the



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proper administrative remedy forms (ECF No. 38); and (2) he on writ from USP-

Canaan from October 5, 2016 until January 5, 2017 (ECF No. 35).

      The Administrative Remedy Process requires an inmate to complete the

informal resolution process and submit a formal administrative remedy request

within twenty calendar days following the date on which the basis for the request

occurred. See 28 C.F.R. § 542.14. In his Amended Complaint, Mr. Green states he

filed a BP-8 “about [his] injury and didn’t receive a response after waiting nearly 14

days then out of the blue [Plaintiff] was transfered (sic) on a writ for new criminal

charges”. (ECF No. 20, p. 6.) Mr. Green never suggests that he filed a BP-8

concerning his ankle care prior to entering the SHU.       Mr. Green filed his BP-8

concerning his “injury” sometime after August 20, 2016, when his staples were

removed.    He also states he filed BP-8 on other issues (his mail and medical

records) that he did receive answers to but with respect to his medical BP-8, his Unit

Team, all non-defendants, told him they “haven’t received anything yet”. (Id., p. 5.)

Plaintiff provides no affirmative evidence demonstrating he did, or could not, avail

himself of the Administrative Remedy Procedure prior to his SHU placement to raise

questions concerning his care following his July 16, 2016 injury. Likewise, he offers

no evidence to support his assertion that his entire SHU Unit Team would not

provide him with appropriate administrative remedy forms or that he could not obtain

the requisite forms from unit officers. Additionally, to the extent Mr. Green suggests

that his BP-8 concerning his injury was pending when transferred “out of the blue,”



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this does not demonstrate the unavailability of the administrative remedy process

prior to Plaintiff initiating this action. First, Mr. Green does not provide any evidence

to demonstrate that his BP-8 was pending on October 5, 2016, the date of his

transfer. In addition, he fails to produce any affirmative evidence to demonstrate his

efforts to seek an extension of time to file his administrative remedy due to his

transfer. Finally, as Defendants point out, Mr. Green placed his Complaint in the

prison mail system on October 1, 2016, prior to his transfer. (See ECF No. 1, p. 3.)

Thus, Mr. Green initiated this action prior to exhausting his available administrative

remedies as Defendants argue. Additionally, if the Court is to believe Mr. Green’s

assertion that his BP-8 was pending for fourteen days when he was suddenly

transferred on October 5, the Court can conclude that Mr. Green’s BP-8 was

pending approximately nine or ten days, when Plaintiff elected to initiate this action.

It is clear from the record before the Court that Mr. Green prematurely filed this

action before either waiting for a response to his informal remedy, or an

administrative remedy, or seeking an enlargement of time to file his administrative

remedy request based on his October 5, 2016, transfer from USP-Canaan.                 In

addition Mr. Green fails to present any affirmative evidence that he was misled to

believe that he would not receive a response to his informal grievance. Rather he

states that the members of his Unit Team responded that “haven’t received anything

yet” concerning his BP-8, not that he would not receive a response. Additionally, Mr.

Green fails to present any affirmative evidence, beyond the allegations of his



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pleadings in support of his right to relief. Based on the foregoing, Mr. Green has

failed to meet his burden with respect to the exhaustion of his claims. Defendants

therefore are entitled to an entry of summary judgment in their favor.

      An appropriate order follows.




 Dated: April 4, 2018                       /s/ A. Richard Caputo
                                            A. RICHARD CAPUTO
                                            United States District Judge




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